       Case 4:01-cr-00212-DPM            Document 817           Filed 07/13/06      Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


UNITED STATES OF AMERICA                            *
                                                    *
vs.                                                 *         No. 4:01CR00212-016 SWW
                                                    *
JAMES R. HENDERSON                                  *


                                               ORDER

        On April 28, 2006, Henderson filed a pro se motion for clarification of sentence.1 The

government responded, and the Court denied the motion because it could not determined the

amount of time for which Henderson was seeking credit on his federal sentence.2 On May 24,

2006, Henderson filed a pleading which the Court interpreted as a renewed motion for

clarification of sentence.3 The government responded to the motion.

        The Court finds the motion should be granted to the extent that the Court finds

Henderson is entitled to jail credit for all the time he was in the custody of the federal authorities,

both prior to his guilty plea and after his guilty plea.

        SO ORDERED this 13th day of July 2006.

                                                           /s/Susan Webber Wright

                                                    UNITED STATES DISTRICT JUDGE




        1
         Docket entry 801.
        2
         Docket entry 804.
        3
         Docket entry 812.
